                    Case: 1:24-cv-01861-DAP Doc #: 36-7 Filed: 05/16/25 1 of 2. PageID #: 355
                                                                                   II I I I I I I Il l l l l l ll l ll l l l l ll l ll l l l l ll l llOFF
                                                                                   Doc ID: 023844580002 Type:
                                                                                                                                                      l ll l l l l \I 1
                                                                                   Kind: DEEDS
                                                                                   Recorded: 02/27/2023 at 03:27:49 PM
                                                                                   Fee Amt: $0.00 Pa~e 1 of 2
                                                                                   Lorain County, Ohio
                                                                                   Mike Doran County Recorder
                                                                                   F1le2O23-O9O79O5
                        r~~~!~T~~~~~2'
                                OHIO REV. CODE          '._))
                                FEB 2 7 2023       .    1 ')"-

                   J. OOAIG S1181GRASS, CPA, CGl'M
                            LORAIN COUNTY AUDrmR



                                                   AUDITOR'S DEED
                                                      (Forfeited Land Sale)
                             Revised Code Secs. 5721.09, .14, .15, .17; 5723.05, .06, .10, .12                                    LB



                   KNOW ALL MEN BY THESE PRESENTS: That whereas, the Real Estate hereinafter
                   described, having become and being delinquent/or non-payment of taxes; assessment,
                   penalties, interest and costs, was forfeited to the State of Ohio, as will fully appear by the
                   records of the Court of Common Pleas and ofthe County Auditor of LORA.IN County,
                   Ohio; and

                          WHEREAS, said County Auditor, has received a written request for direct transfer
                    ofproperty forfeited to the State of Ohio from the Lorain County Land Reutilization
                    Corporation pursuant to Ohio Revised Code 5722. 04;



                           NOW THEREFORE, l J. CRAIG SNODGRASS as County Auditor of Lorain
                   County, Ohio acting as agent of the State of Ohio, upon request of the Lorain County Land
                   Reutilization Corporation and pursuant to the O.R.C. 5722.04, do hereby GRANT,
                   BARGAIN, SELL, AND CONVEY unto the said LORAIN COUNTY LAND
                   REUTILIZATION CORPORATION their heirs and assigns forever, the Real Estate sold
                   as aforesaid and fully described as follows:


                        Situated in the City of Lorain, County ofLorain and State of Ohio; and known as
                        being Sublot No. 43 in Morehouse and Foster's Subdivision, ofpart of Original
                        Black River Township Lot No. 3, Tract 1, as shown by the recorded plat in Volume
                        4, Page 27 of Lorain County Records, and being a parcel of land 50feetfront on
                        the Southerly side ofAllen Avenue, now known as West 29th Street, and extending
                        back of equal width 132.92 feet, as appears by said plat, being the same more or
                        less.

                        Permanent Parcel No. 02-01-003-203-008

                        Prior Deed Reference: Instrument 2022-0896481 of Lorain County Records




                                                                         per ORC Sec. 5713.09




=-ile Number: 20230907905    Page 1 of 2
                    Case: 1:24-cv-01861-DAP Doc #: 36-7 Filed: 05/16/25 2 of 2. PageID #: 356




                    TO HAVE AND TO HOLD said premises, with all the privileges and appurtenances
                    thereunto belonging, to the said Lorain County Land Reutilization Corporation
                    their heirs and assigns forever.

                    IN WITNESS WHEREOF, I J. Craig Snodgrass, County Auditor ofLorain County,
                    Ohio, acting as agent of the State of Ohio, have hereunto set my hand, this 27th day of
                    February 2023.




                                                        Lora~ County A'ditor
                                                        Of Lorain County, Ohio
                                                     Acting as Agent of the State of Ohio




                   The State of Ohio LORAIN County, ss.

                           BE IT REMEMBERED, that on this 27th day of February 2023, before me, the
                     subscriber, a notary public in and for said County, personally came the above named
                     J. CRAIG SNODGRASS, as County Auditor of LORAIN County, Ohio, acting as agent
                     of the State of Ohio, the Grantor in the foregoing Deed, and acknowledged the signing
                     of the same to be his voluntary act and deed, as such County Auditor and agent of the
                     State of Ohio, for the uses and purposes therein mentioned.

                            IN TESTIMONY WHEREOF, I have hereunto subscribed my name and affixed my
                   official seal, on the day and year last aforesaid.



                                                 W}J!j l}t(f/J(}/{
                                          -------7                                          .
                                                                         AM Utlll1UJJj [)if;
                                                                           1rxp1fr1 511/1113



                   This instrument was prepared by the Lorain County Auditor's Office.                        SEAL




                                                                                                LORAIN COUNTY LAND
                                                                                                REUTILIZATION CORP
                                                                                                226 MIDDLE AVE 5TH FLOOR
                                                                                                ELYRIA, OH 44035




=-jle Number: 20230907905   Page 2 of 2
